      Case 4:23-cv-01734 Document 17 Filed on 12/26/23 in TXSD Page 1 of 4
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                        IN THE UNITED STATES DISTRICT COURT                        December 26, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

                                                     §
 CLARENCE WILLIAMS,                                  §
                                                     §
                        Plaintiff,                   §
 v.                                                  §   CIVIL ACTION NO. H-23-1734
                                                     §
 JPMORGAN CHASE BANK NATIONAL                        §
 ASSOCIATION,                                        §
                                                     §
                        Defendant.                   §
                                                     §


                                MEMORANDUM AND ORDER

       Clarence Williams sued JP Morgan Chase Bank National Association in state court after

JPMorgan Chase sought to foreclose on Mr. Williams’ Houston property. (Docket Entry No. 1).

Mr. Williams executed a deed and note (together, “the Loan”) on the property in 2002 in favor of

Bank One, N.A. (Docket Entry No. 16 at 2). The Loan was subsequently modified on about March

1, 2020, by JPMorgan Chase, who is both the holder of the note and servicer of the Loan. (Id.).

Mr. Williams defaulted on the Loan, JPMorgan Chase obtained a foreclosure order, and Mr.

Williams filed suit before the foreclosure. (Id.).

         JP Morgan Chase removed and moved to dismiss. (Docket Entry Nos. 1, 2). Following

two hearings before the court regarding an exchange of preliminary information, (Docket Entry

Nos. 9, 13), Mr. Williams filed a Second Amended Complaint alleging a single action under the

state and federal Declaratory Judgment Act. (Docket Entry No. 15). JP Morgan Chase again

moved to dismiss. (Docket Entry No. 16). Mr. Williams has not filed a response, and the deadline

for response passed in October.
      Case 4:23-cv-01734 Document 17 Filed on 12/26/23 in TXSD Page 2 of 4




       Based on the motion to dismiss, the record, and the relevant law, the court grants JP Morgan

Chase’s motion to dismiss with prejudice. The reasons for this ruling are set out below.

I.     The Legal Standard for Dismissal

       Rule 12(b)(6) allows dismissal if a plaintiff fails “to state a claim upon which relief can be

granted.” Fed. R. Civ. P. 12(b)(6). Rule 12(b)(6) must be read in conjunction with Rule 8(a),

which requires “a short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). A complaint must contain “enough facts to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Rule 8 “does

not require ‘detailed factual allegations,’ but it demands more than an unadorned, the-defendant-

unlawfully-harmed-me accusation.”        Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Twombly, 550 U.S. at 555). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). “The plausibility standard is not akin

to a ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has

acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 556).

       To withstand a Rule 12(b)(6) motion, a complaint must include “more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Lincoln

v. Turner, 874 F.3d 833, 839 (5th Cir. 2017) (quoting Twombly, 550 U.S. at 555). “Nor does a

complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal,

556 U.S. at 678 (alteration in original) (quoting Twombly, 550 U.S. at 557). “A complaint ‘does

not need detailed factual allegations,’ but the facts alleged ‘must be enough to raise a right to relief

above the speculative level.’” Cicalese v. Univ. of Tex. Med. Branch, 924 F.3d 762, 765 (5th Cir.

2019) (quoting Twombly, 550 U.S. at 555). “Conversely, when the allegations in a complaint,



                                                   2
      Case 4:23-cv-01734 Document 17 Filed on 12/26/23 in TXSD Page 3 of 4




however true, could not raise a claim of entitlement to relief, this basic deficiency should be

exposed at the point of minimum expenditure of time and money by the parties and the court.”

Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (alterations omitted) (quoting Twombly, 550

U.S. at 558).

       A court reviewing a motion to dismiss under Rule 12(b)(6) may consider “(1) the facts set

forth in the complaint, (2) documents attached to the complaint, and (3) matters of which judicial

notice may be taken under Federal Rule of Evidence 201.” Inclusive Cmtys Project, Inc. v. Lincoln

Prop. Co., 920 F.3d 890, 900 (5th Cir. 2019).

II.    Analysis

       The Texas Declaratory Judgment Act “is a procedural statute that does not apply in federal

court.” Camacho v. Texas Workforce Comm’n, 445 F.3d 407 (5th Cir. 2006). Federal claims for

“declaratory relief are remedial in nature, and are therefore dependent on the plaintiff's assertion

of a viable cause of action.” Mbeche v. Trust, No. 15-CV-01846, 2016 WL 1162200, at *4 n.5

(S.D. Tex. Mar. 24, 2016) (citing VRC LLC v. City of Dallas, 460 F.3d 607, 611 (5th Cir. 2006)).

       Mr. Williams has asserted that he “denies that he signed the loan modification agreement

and denies that he owes the funds that the Defendant claims that he owes.” (Docket Entry No. 15

at 2). In his claim for relief, he states only that “a controversy exists as to the balance and

enforceability of the power of sale in the deed of trust. (Id.). He provides no further facts or basis

for his claims, even in his Second Amended Complaint. To the extent that Mr. Williams’s claim

is for an accounting of “the principal balance due, if any, and the defendant’s right if any to seek

foreclosure[,]” (Id.), this is not a remedy available under the federal Declaratory Judgment Act,

which provides “early adjudication of an actual controversy.” Collin Cnty., Tex. v. Homeowners

Ass’n for Values Essential to Neighborhoods, (HAVEN), 915 F.2d 167, 170 (5th Cir. 1990).



                                                  3
      Case 4:23-cv-01734 Document 17 Filed on 12/26/23 in TXSD Page 4 of 4




       Mr. Williams’s federal Declaratory Judgment Act claim fails to state a claim under any

substantive law. RKCJ, LLC v. Farmers & Merchants Bank, No. 3:21-CV-2597-BN, 2022 WL

1050313, at *3 (N.D. Tex. Apr. 7, 2022) (collecting cases); see Gamble v. Carrington Mortg.

Servs., LLC, No. CV H-23-184, 2023 WL 2503537, at *3 (S.D. Tex. Mar. 14, 2023). Bare requests

for a court to “determine the rights of the parties” in foreclosure proceedings, without any further

allegations showing how or why a controversy exists, do not sustain a cause of action under the

federal Declaratory Judgment Act. See Stokley v. Home Servicing, LLC, No. 14-CV-3657, 2015

WL 12763512, at *8 (N.D. Tex. June 11, 2015), report and recommendation adopted, 2015 WL

12763513 (N.D. Tex. Aug. 4, 2015).

       Mr. Williams has had the chance to amend his complaint after the defendant’s initial

motion to dismiss. Further amendment would be futile. This court grants the defendant’s motion

to dismiss with prejudice. An order of final judgment is separately entered.



               SIGNED on December 26, 2023, at Houston, Texas.




                                                     ________________________________
                                                                  Lee H. Rosenthal
                                                             United States District Judge




                                                 4
